Case No. 1:21-cr-00013-RM Document 14-2 filed 11/30/20 USDC Colorado pg 1 of 2




November 29, 2020

The Honorable Judge N. Reid Neureiter
U.S. Magistrate Judge
Rogers U.S. Courthouse
Denver, Colorado

Dear Judge Neuriter,

I am writing you in support of my beloved cousin, Andres Cuetara. I’ll begin with
a confession – I’m not positive that “cousin” is the exact right title to describe our
relationship, in the formal sense. But I’m entirely positive that, in every other
sense, it’s the correct title to describe my relationship with Andres. I have known
Andres my entire life, and he has very much been a core part of our family, and of
my upbringing. I was lucky enough to have a large, loving family, and to spend
every holiday, and many family meals, with him each year. My three brothers and
I all truly looked forward to the time we would get with Andres, and to the many
lessons he would teach us (both intentionally and, more often than not,
unintentionally). While I am confident that I have made a positive impact on
Andres’ life, I am much more confident that he has made an even greater, and
unquestionably positive impact on the course of my life, and on my overall
character.

Andres is first and foremost a compassionate, caring, trustworthy and gentle man.
He has always cared about every single person around him. His gratitude for the
simplicity of life is easy to see. As a deaf-mute born in Mexico, Andres had to
overcome significant obstacles in life. In my view, he has always done so in such a
magical way. When I was a little kid, I grew up with Andres, communicating via
paper and pen, with limited English. But as we grew together, our ability to
communicate expanded dramatically. I am grateful to have had the ability to
connect with Andres in an authentic way, and to have learned so many things
about life (and the various challenges different people face) from him. I will
always recall “speaking” to Andres about his job; his connection to the mission
left a lasting impression on me. I recall when I asked whether he liked his job at
the textbook store on his campus, that he responded (with his classic Andres
smile) via pad with, “I help people. Every day. Makes me happy”. While it might
sound small, I believe this is a simple reminder of his overall character, and his
Case No. 1:21-cr-00013-RM Document 14-2 filed 11/30/20 USDC Colorado pg 2 of 2




genuine and unrelenting desire to help others first. He has always put others in
front of himself, and while his life is rather simple, his impact to the world and his
community is not.

I am fortunate to have had success in the early years of my career – I have had
incredible mentors, and have been surrounded by “unquestionably successful”
people throughout much of my life. I now spend my days running an executive
recruiting business, where many times each day I get a glimpse into the lives of
some of the country’s most renowned C-Suite leaders. I am grateful that I had
the opportunity to go to Harvard Business School, where I learned lessons on
leadership from the “best” in the world. But the simple lessons I learned from
Andres about helping others first, remaining positive, working hard, and being
honest, have made a bigger impact on my life, and the strength of my character,
than most of the leaders I refer to above.

I write to attest to Andres’ personal character, and to try to describe some of the
many ways Andres has impacted my life for the positive. Similarly, to describe
that the impact he has made on our community in Denver has been
unquestionably positive. He is a gentle, thoughtful, and empathetic man… the
kind of man that would make any parent proud.

If I can provide any further detail, or be helpful to the Court in any way, please
don’t hesitate to contact me.

Best regards,

Joe Miller

s/Joe Miller

Managing Partner
Flatiron Search Partners, LLC
joe@flatironsearch.com
720-933-5050
